             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
      ___________________________

           No. 02-23-00344-CR
      ___________________________

JESSICA JAY BREDESON-ELLIOTT, Appellant

                     V.

          THE STATE OF TEXAS


   On Appeal from the 355th District Court
           Hood County, Texas
         Trial Court No. CR16056


   Before Womack, Wallach, and Walker, JJ.
   Memorandum Opinion by Justice Wallach
                            MEMORANDUM OPINION

       A jury convicted Appellant Jessica Jay Bredeson-Elliott of credit card or debit

card abuse, a state jail felony. See Tex. Penal Code Ann. § 32.31(a), (b)(1)(A), (d). Upon

her pleas of true to repeat-offender allegations that she had prior final state jail felony

convictions, the jury assessed her punishment at eight years’ confinement. See id.
§§ 12.35(a), 12.425(a). The trial court sentenced her accordingly, and she timely

appealed. See Tex. R. App. P. 26.2(a).

       Bredeson-Elliott’s court-appointed appellate counsel has filed a motion to

withdraw and a brief complying with Anders v. California, 386 U.S. 738, 744–45, 87 S. Ct.

1396, 1400 (1967), representing that this appeal is frivolous because the record reveals

no arguable or reversible error and no “nonfrivolous issue.” In accordance with

Kelly v. State, counsel provided Bredeson-Elliott with copies of the brief and motion to

withdraw; informed her of her rights to file a pro se response, to review the record, and

to seek discretionary review pro se should this court deny relief; and took concrete

measures to facilitate her review of the appellate record. See 436 S.W.3d 313, 319

(Tex. Crim. App. 2014).

       Counsel’s brief and motion meet the requirements of Anders by presenting a

professional evaluation of the record demonstrating why there are no arguable grounds

for relief. See In re Schulman, 252 S.W.3d 403, 406–12 (Tex. Crim. App. 2008) (orig.

proceeding). This court gave Bredeson-Elliott the opportunity to file a pro se response

to the Anders brief, but she did not do so; likewise, the State did not file a brief.

                                             2
       After an appellant’s court-appointed attorney files a motion to withdraw on the

ground that an appeal is frivolous and fulfills the requirements of Anders, we must

independently examine the record for any arguable ground that may be raised on the

appellant’s behalf. See Stafford v. State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991). Only

then may we grant counsel’s motion to withdraw. See Penson v. Ohio, 488 U.S. 75, 82–83,

109 S. Ct. 346, 351 (1988). We agree with counsel that this appeal is wholly frivolous

and without merit; we find nothing in the record that arguably might support an appeal.

See Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005); see also Meza v. State,

206 S.W.3d 684, 685 n.6 (Tex. Crim. App. 2006). We therefore grant counsel’s motion

to withdraw and affirm the trial court’s judgment.



                                                        /s/ Mike Wallach
                                                        Mike Wallach
                                                        Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




                                             3
